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 EXHIBIT H
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                          UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK


 E. JEAN CARROLL,
                         Plaintiff,

                                                           No. 20 Civ. 7311 (LAK) (JLC)
         v.

 DONALD J. TRUMP, in his personal capacity,

                         Defendant.




             PLAINTIFF E. JEAN CARROLL’S RESPONSES AND OBJECTIONS
                        TO DEFENDANT DONALD J. TRUMP’S
                  REQUEST FOR THE PRODUCTION OF DOCUMENTS

        Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure and the Local Rules

for the Southern District of New York (together, the “Rules”), Plaintiff E. Jean Carroll (“Carroll”),

by and through her attorneys, submits these responses and objections to Defendant Donald J.

Trump’s Request for the Production of Documents dated May 27, 2022 (the “Requests”).

                         GENERAL OBJECTIONS AND RESPONSES

        The following general objections and responses (the “General Objections”) are

incorporated into each specific objection and response (the “Specific Objections”) as if fully set

forth therein:

        1.       Carroll objects to the Requests to the extent they are duplicative or cumulative or

seek information that has been or will be provided through other means of discovery.

        2.       Carroll objects to the Requests to the extent they are vague, ambiguous, overly

broad, unduly burdensome, seek information not relevant to the claims or defenses of any party,

or are not proportional to the needs to the case.
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       3.      Carroll objects to the Requests to the extent they purport to call for information or

documents that: (a) are subject to the attorney-client privilege; (b) constitute attorney work

product; (c) contain information protected from disclosure based on common interest or a similar

privilege; or (d) are otherwise protected from disclosure under applicable privilege, law, or rule.

Carroll will not produce such information or documents in response to the Requests, and any

inadvertent production thereof shall not be deemed a waiver of any privilege with respect to such

information.

       4.      Carroll objects to each Request to the extent it calls for documents that: (a) are

already in Defendant’s possession, custody, or control; (b) are publicly available; or (c) are

otherwise independently available to Defendant or his counsel.

       5.      Carroll objects to the Requests to the extent they require unreasonable measures

to locate and produce responsive documents. Carroll will construe the Requests to require a

reasonable and diligent search of its reasonably-accessible files where it would reasonably expect

to find information, documents, or things related to the Requests, and specifically states that it will

limit its search for electronic mail by use of identified search terms and custodians to be agreed

upon by the Parties.

       6.      Carroll objects to the Definitions and Instructions to the extent that they purport to

impose obligations greater than those imposed by the Rules or any case law interpreting them.

Carroll will respond to the Requests in a manner consistent with the Rules.

       7.      Carroll objects to Definition No. 3 on the ground that it purports to include Bergdorf

Goodman’s “current or former subsidiaries, affiliates, parents, predecessors and successors,

divisions, departments and operating units, and includes, without limitation, each of their current

or former officers, directors, members, partners, shareholders, employees, agents, officials,



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Representatives, and all Persons and entities acting or purporting to act on their behalf.” Subject

to this General Objection, in responding to the Requests, Carroll will construe “Bergdorf” to refer

only to “Bergdorf Goodman” and no other entity.

        8.      Carroll objects to Definition No. 5 on the grounds that it is broader than the uniform

definition of “communication” in Local Rule 26.3(c)(1). Subject to this General Objection, in

responding to the Requests, Carroll will use the definition of “communication” set forth in that

Rule.

        9.      Carroll objects to Definition No. 7 on the grounds that it is broader than the uniform

definition of “concerning” in Local Rule 26.3(c)(7). Subject to this General Objection, in

responding to the Requests, Carroll will use the definition of “concerning,” and its subsumed term

“relating to,” set forth in that Rule.

        10.     Carroll objects to Definition No. 9 on the grounds that it is broader than the uniform

definition of “document” in Local Rule 26.3(c)(2) and Federal Rule of Civil Procedure

34(a)(1)(A). Subject to this General Objection, in responding to the Requests, Carroll will use the

definition of “document” set forth in those Rules.

        11.     Carroll objects to Definition No. 10 on the ground that it purports to include Elle’s

“current or former subsidiaries, affiliates, parents, predecessors and successors, divisions,

distributors, publishers, departments and operating units, and includes, without limitation, each of

their current or former officers, directors, members, partners, shareholders, employees, agents,

officials, Representatives, and all persons and entities acting or purporting to act on their behalf,

but not limited to Hearst.” Subject to this General Objection, in responding to the Requests, Carroll

will construe “Elle” to refer only to “Elle Magazine” and no other entity.




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       12.     Carroll objects to Definition No. 18 on the ground that it defines “Carroll,”

“Plaintiff,” “You,” and “Your” as “E. Jean Carroll and her Representatives and former

Representatives, including but not limited to, Kaplan Hecker & Fink, and Kaplan.” Because this

is solely a dispute between two parties, Carroll will construe “Plaintiff,” “You,” and “Your” to

refer only to “E. Jean Carroll.”

       13.     Carroll objects to Instruction No. 3 to the extent it seeks to impose obligations

greater than those imposed by Local Rule 26.2. For all claims of privilege, Carroll will identify

only that information that it is required to be identified under Local Rule 26.2.

       14.     Carroll objects to Instruction No. 19 and Instruction No. 21 insofar as they seek to

impose obligations greater than those imposed by Federal Rule of Civil Procedure 34(b)(2). For

all objections, Carroll will state only the information that it is required to be stated under Federal

Rule of Civil Procedure 34(b)(2).

       15.     Carroll objects to Instruction No. 24 to the extent it encompasses information that

is overbroad, unduly burdensome, disproportionate to the needs of the case, and irrelevant.

       16.     Plaintiff’s Responses to the Requests are made to the best of Carroll’s present

knowledge, information, and belief. These Responses are at all times subject to such additional or

different information that discovery or further investigation may disclose and, while based on the

present state of Carroll’s knowledge and investigation, are subject to such additional knowledge

of facts as may result from Carroll’s further discovery or investigation.

       17.     Carroll objects to the Requests to the extent they contain express or implied

assumptions of fact or law with respect to matters at issue in this case. Carroll’s Responses to the

Requests are not intended to be and shall not be construed as an agreement or concurrence with




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Defendant’s characterization of any facts, circumstances, or legal obligations. Carroll reserves the

right to contest any such characterization as inaccurate.

       18.     The fact that Carroll has responded to a particular Request shall not be interpreted

as implying that Carroll acknowledges the propriety of that Request.

       19.     Carroll reserves the right to make any use of, or to introduce at any hearing and at

trial, information responsive to the Requests but discovered subsequent to the date of these

Responses, including, but not limited to, any such information obtained in discovery herein.

       20.     Carroll reserves all objections or other questions as to the competency, relevance,

materiality, privilege, or admissibility of Carroll’s responses herein, as evidence in any subsequent

proceeding in, or trial of, this or any other action, for any purpose whatsoever.

       21.     If so designated, Carroll’s Responses to the Requests will be subject to the

confidentiality protections of any Protective Order entered by the Court.

       22.     Carroll will produce responsive documents pursuant to her General and Specific

Objections on a rolling basis.

       23.     Counsel for Carroll is available to meet and confer with respect to any of her

Responses and Objections. Carroll reserves the right, but does not assume the obligation, to amend

or supplement her Responses and Objections.

                      SPECIFIC OBJECTIONS AND RESPONSES TO
                      DEFENDANT’S REQUEST FOR PRODUCTION
REQUEST NO. 1

       All Documents and Communications concerning the Statements.

RESPONSE TO REQUEST NO. 1

       In addition to her General Objections, Carroll objects to this Request on the grounds that it

is overbroad, unduly burdensome, and disproportionate. Notwithstanding and without waiver of


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her General and Specific Objections, Carroll will conduct a reasonable search and produce

responsive non-privileged documents and communications concerning whether the Statements

were true or false, and concerning the harms she suffered as a result of the Statements.

REQUEST NO. 2

       All Documents and Communications concerning statements made by You that have been
characterized by anyone as biased, bogus, concocted, counterfeit, deceptive, dishonest,
erroneous, exaggerated, fabricated, fake, fallacious, false, feigned, fictitious, flawed, forged,
fraudulent, hyperbolic, impartial, imprecise, inaccurate, inconsistent, incorrect, inexact,
invented, misleading, perfidious, phony, specious, spurious, unfounded, unreliable, untrue, or
wrong.

RESPONSE TO REQUEST NO. 2

       In addition to her General Objections, Carroll objects to this Request on the grounds that it

is overbroad, unduly burdensome, and disproportionate. Carroll further objects on the ground that

this Request purports to require Carroll to understand the subjective views of other persons, and

purports to require Carroll to trace all characterizations by third parties of all statements she has

made. Carroll further objects to this Request on the ground that it seeks documents and information

not within Carroll’s possession, custody, or control. Notwithstanding and without wavier of her

General and Specific Objections, Carroll notes that Defendant himself has characterized various

statements by Carroll as untrue. Carroll will not produce documents or communications in

response to this Request.

REQUEST NO. 3

       All Documents and Communications concerning Defendant, President Trump’s
presidency and/or Mr. Trump’s campaign.

RESPONSE TO REQUEST NO. 3

       In addition to her General Objections, Carroll objects to this Request on the ground that it

is overbroad, unduly burdensome, and disproportionate. Notwithstanding and without waiver of


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her General and Specific Objections, Carroll will produce responsive non-privileged documents

and communications concerning her decision to reveal publicly in June/July 2019 that Trump had

sexually assaulted her.

REQUEST NO. 4

       All Documents and Communications concerning the allegations in the Complaint.

RESPONSE TO REQUEST NO. 4
       In addition to her General Objections, Carroll objects to this Request on the grounds that it

is overbroad, unduly burdensome, disproportionate, and duplicative of other discovery requests.

Carroll further objects to this Request to the extent that it seeks information protected by the

attorney-client privilege, work product protection, or other privileges or protections from

disclosure. Notwithstanding Carroll’s General and Specific Objections, Carroll will conduct a

reasonable search and produce responsive non-privileged documents and communications

reasonably related to the allegations in the Complaint.

REQUEST NO. 5

       All Documents and Communications with Defendant, his family members, or his agents
or representatives.

RESPONSE TO REQUEST NO. 5

       In addition to her General Objections, Carroll objects to this Request on the grounds that it

is vague, and that it purports to require Carroll to determine the relationships between Defendant

and various non-parties when such information is more readily available to Defendant. Carroll

further objects to this Request to the extent that it seeks documents and communications already,

equally and/or more readily available to Defendant than to Carroll. Notwithstanding and without

waiver of her General and Specific Objections, Carroll will produce non-privileged documents and




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communications with Trump, his immediate family members, and/or Trump’s agents or

representatives known by Ms. Carroll to be such.

REQUEST NO. 6

       All Documents and Communications concerning this Action, including but not limited to
all Documents concerning Communications with any non-party.

RESPONSE TO REQUEST NO. 6

       In addition to her General Objections, Carroll objects to this Request on the ground that it

is overbroad, unduly burdensome, and disproportionate (including because it seeks Documents,

Communications, and Documents concerning Communications), as well as on the ground that it

is duplicative of other discovery requests. Carroll further objects to this Request to the extent that

it seeks information protected by the attorney-client privilege, work product protection, or other

privileges or protections from disclosure. Notwithstanding Carroll’s General and Specific

Objections, Carroll will conduct a reasonable search and produce responsive non-privileged

documents and communications.

REQUEST NO. 7

       All Documents and Communications concerning the purported incident or incidents
described in paragraphs 22 through 42 of the Complaint.

RESPONSE TO REQUEST NO. 7

       In addition to her General Objections, Carroll objects to this Request on the ground that it

is duplicative of other Requests herein. Notwithstanding Carroll’s General and Specific

Objections, Carroll will produce responsive non-privileged documents and communications.

REQUEST NO. 8

       All Documents and Communications concerning any discussions You had with any
other Person concerning the purported incident or incidents described in paragraphs 22
through 42 of the Complaint, including but not limited to, the Communications described in
paragraphs 43 through 54 of the Complaint.

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RESPONSE TO REQUEST NO. 8

       In addition to her General Objections, Carroll objects to this Request on the ground that it

is duplicative of other Requests herein. Notwithstanding Carroll’s General and Specific

Objections, Carroll will produce responsive non-privileged documents and communications

reasonably related to the allegations in the Complaint.

REQUEST NO. 9

      All Documents and Communications with Lisa Birnbach concerning the allegations
made in the Complaint, this Action, Defendant, President Trump’s presidency and/or Mr.
Trump’s campaign.

RESPONSE TO REQUEST NO. 9

       In addition to her General Objections, Carroll objects to this Request on the ground that it

is duplicative of other Requests herein. Notwithstanding and without waiver of her General and

Specific Objections, Carroll will produce responsive non-privileged documents and

communications with Lisa Birnbach concerning the Statements, this Action, and Trump’s sexual

assault of Carroll as alleged in the Complaint.

REQUEST NO. 10

      All Documents and Communications with Carol Martin concerning the allegations
made in the Complaint, this Action, Defendant, President Trump’s presidency and/or Mr.
Trump’s campaign.

RESPONSE TO REQUEST NO. 10

       In addition to her General Objections, Carroll objects to this Request on the ground that it

is duplicative of other Requests herein. Notwithstanding and without waiver of her General and

Specific Objections, Carroll will produce responsive non-privileged documents and




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communications with Carol Martin concerning the Statements, this Action, and Trump’s sexual

assault of Carroll as alleged in the Complaint.

REQUEST NO. 11

      All Documents and Communications concerning any tests of clothing that have
occurred related to the allegations in the Complaint, including all Documents and
Communications with Carol Martin.

RESPONSE TO REQUEST NO. 11

       In addition to her General Objections, Carroll objects to this Request insofar as it calls for

the production of documents protected by attorney-client privilege, attorney work-product

doctrine, and other applicable privileges. Notwithstanding and without waiver of her General and

Specific Objections, Carroll will produce responsive non-privileged documents and

communications in which she makes statements concerning any tests of clothing that have

occurred related to the allegations in the Complaint.

REQUEST NO. 12

      All Documents and Communications concerning what You were wearing during the
purported incident or incidents described in paragraphs 22 through 42 of the Complaint.

RESPONSE TO REQUEST NO. 12

       Notwithstanding and without waiver of her General Objections, Carroll will produce non-

privileged documents and communications responsive to this Request.

REQUEST NO. 13

       All Documents and Communications concerning the payment of attorneys’ fees or other
expenses, including but not limited to promises of payments for security expenses, relocation, or
any other benefit, in connection with this Action or any statements, accusations or allegations
concerning Defendant.




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RESPONSE TO REQUEST NO. 13

       In addition to her General Objections, Carroll objects to this Request insofar as it calls for

the production of documents protected by attorney-client privilege, attorney work-product

doctrine, and other applicable privileges. Carroll further objects to this Request on the ground that

it seeks information not relevant to the claims or defenses of any Party in this Action—the

production of which could threaten Carroll’s security. Carroll further objects to this request on the

grounds of overbreadth, disproportionality, and undue burden. Carroll will not produce documents

or communications in response to this Request.

REQUEST NO. 14

        All Documents and Communications concerning any funds, payments, donations, gifts or
consideration of any value, which have been made, provided, discussed, or offered to have been
made or provided, in connection with this Action or in connection with any media or public
appearances, press interviews, or consultations with any legal counsel or any other person,
concerning the Defendant, any accusation or allegation concerning Defendant, this Action,
and/or Defendant’s presidency or campaign, including but not limited to for security expenses,
relocation, expenses, consulting, or attorneys’ fees.

RESPONSE TO REQUEST NO. 14

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request on the

ground that it seeks information not relevant to the claims or defenses of any Party in this Action—

the production of which could threaten Carroll’s security. Notwithstanding and without waiver of

her General and Specific Objections, Carroll will produce responsive non-privileged documents

concerning her decision to reveal publicly in June/July 2019 that Trump had sexually assaulted

her, as well as non-privileged documents concerning the harms she suffered as a result of the

Statements.




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REQUEST NO. 15

       All Documents and Communications between You, on one hand, and any member of the
media or press, reporter, blogger, website operator, and/or journalist, on the other hand,
concerning Defendant, this Action, the allegations in the Complaint, and/or President Trump’s
presidency or Mr. Trump’s campaign.

RESPONSE TO REQUEST NO. 15

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request on the

ground that it seeks information not relevant to the claims or defenses of any Party in this Action.

Notwithstanding and without waiver of her General and Specific Objections, Carroll will produce

responsive non-privileged documents and communications concerning this Action, the allegations

in the Complaint, her decision to reveal publicly in June/July 2019 that Trump had sexually

assaulted her, and the harms she suffered as a result of the Statements.

REQUEST NO. 16

       All Documents and Communications concerning any quote attributed to You or interview
given by You in any newspaper, magazine, journal, news source, or other publication concerning
Defendant, this Action, the allegations in the Complaint, and/or President Trump’s presidency
or Mr. Trump’s campaign.

RESPONSE TO REQUEST NO. 16

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request on the

ground that it seeks information not relevant to the claims or defenses of any Party in this Action.

Carroll further objects to this Request on the ground that it is inconsistent with the Rules because

it seeks documents and information not within Carroll’s possession, custody, or control.

Notwithstanding and without waiver of her General and Specific Objections, Carroll will produce

responsive non-privileged documents and communications concerning this Action, the allegations



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in the Complaint, her decision to reveal publicly in June/July 2019 that Trump had sexually

assaulted her, and the harms she suffered as a result of the Statements.

REQUEST NO. 17

       All Documents and Communications concerning any press conferences in which You or
Your representatives appeared, attended and/or participated, concerning Defendant, this
Action, the allegations in the Complaint, and/or President Trump’s presidency or Mr. Trump’s
campaign.

RESPONSE TO REQUEST NO. 17

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request on the

ground that it seeks information not relevant to the claims or defenses of any Party in this Action.

Carroll further objects to this Request on the ground that it is inconsistent with the Rules because

it seeks documents and information not within Carroll’s possession, custody, or control. Carroll

further objects to this Request insofar as it calls for the production of documents protected by

attorney-client privilege, attorney work-product doctrine, and other applicable privileges.

Notwithstanding and without waiver of her General and Specific Objections, Carroll will produce

responsive non-privileged documents and communications concerning this Action, the allegations

in the Complaint, her decision to reveal publicly in June/July 2019 that Trump had sexually

assaulted her, and the harms she suffered as a result of the Statements.

REQUEST NO. 18

       All Documents and Communications concerning publicity, public reports, interviews, or
other media attention or “mentions” pertaining to You.

RESPONSE TO REQUEST NO. 18

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request on the


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ground that it seeks information not relevant to the claims or defenses of any Party in this Action.

Carroll further objects to this Request on the ground that it is duplicative. Carroll further objects

to this Request on the ground that it is inconsistent with the Rules because it seeks documents and

information not within Carroll’s possession, custody, or control. Carroll will not produce

documents or communications in response to this Request.

REQUEST NO. 19

       All Documents and Communications concerning your attendance at any politically-
related meeting, event, conference, rally, phone-call, or march, including but not limited to any
payment or consideration received in connection with such attendance.

RESPONSE TO REQUEST NO. 19

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request on the

ground that it seeks information not relevant to the claims or defenses of any Party in this Action.

Carroll further objects to this Request on the ground that it is duplicative. Carroll further objects

to this Request on the ground that it is inconsistent with the Rules because it seeks documents and

information not within Carroll’s possession, custody, or control. Notwithstanding and without

waiver of her General and Specific Objections, Carroll will produce responsive non-privileged

documents and communications concerning her decision to reveal publicly in June/July 2019 that

Trump had sexually assaulted her.

REQUEST NO. 20

       All Documents and Communications with or concerning any witness or potential witness
to any accusation or allegation concerning the Defendant or the allegations in the Complaint or
this Action.




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RESPONSE TO REQUEST NO. 20

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request on the

ground that it seeks information not relevant to the claims or defenses of any Party in this Action,

and on the ground that it is duplicative of other Requests. Carroll further objects to this Request

on the ground that it requires her to speculate about who may qualify as a “witness” or “potential

witness” to any accusation or allegation concerning the Defendant or the allegations in the

Complaint or this Action. Carroll will not produce documents or communications in response to

this Request as formulated.

REQUEST NO. 21

       All Documents and Communications concerning the Article.

RESPONSE TO REQUEST NO. 21

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request on the

ground that it seeks information not relevant to the claims or defenses of any Party in this Action,

and on the ground that it is duplicative of other Requests. Notwithstanding and without waiver of

her General and Specific Objections, Carroll will produce responsive non-privileged documents

and communications constituting drafts of the Article, as well as responsive non-privileged

documents and communications concerning her decision to reveal publicly in June/July 2019 that

Trump had sexually assaulted her.

REQUEST NO. 22

        All Documents and Communications concerning the Book, including but not limited to
all drafts of the Book and communications with editors, publishers, distributors, or promoters
concerning the Book.


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RESPONSE TO REQUEST NO. 22

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request on the

ground that it seeks information not relevant to the claims or defenses of any Party in this Action,

and on the ground that it is duplicative of other Requests. Notwithstanding and without waiver of

her General and Specific Objections, Carroll will produce responsive non-privileged documents

and communications constituting drafts of chapters of the Book that discuss Trump, as well as

responsive non-privileged documents and communications concerning her decision to reveal

publicly in June/July 2019 that Trump had sexually assaulted her.

REQUEST NO. 23

        All Documents and Communications concerning agreements related to the Book or the
Article, including but not limited to any agreements as to indemnification, payment, royalties, or
advances.

RESPONSE TO REQUEST NO. 23

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth and undue burden. Carroll further objects to this Request on the ground that it seeks

information not relevant to the claims or defenses of any Party in this Action. Notwithstanding and

without waiver of her General and Specific Objections, Carroll will produce responsive non-

privileged documents and communications constituting her final contracts or agreements with

publishers respecting the publication of the Book and the Article, as well as responsive non-

privileged documents and communications concerning her decision to reveal publicly in June/July

2019 that Trump had sexually assaulted her.




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REQUEST NO. 24

       All Documents and Communications concerning any funds received as a result of the
Book, including but not limited to Documents sufficient to show all funds received in connection
with sale, distribution, or promotion of the Book or the Article.

RESPONSE TO REQUEST NO. 24

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request on the

ground that it seeks information not relevant to the claims or defenses of any Party in this Action,

and on the ground that it is duplicative of other Requests, which address the terms of her

agreement(s) to publish the Book and the Article. Carroll will not produce documents or

communications in response to this Request.

REQUEST NO. 25

        All Documents and Communications concerning any public appearances concerning the
allegations alleged in the Complaint, including but not limited to any payment, remuneration,
reimbursement, or compensation, in exchange for or in connection with any such appearances.

RESPONSE TO REQUEST NO. 25

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request on the

ground that it seeks information not relevant to the claims or defenses of any Party in this Action,

and on the ground that it is duplicative of other Requests. Notwithstanding and without waiver of

her General and Specific Objections, Carroll will produce responsive non-privileged documents

and communications concerning news media appearances in which she discussed the Action or the

allegations in the Complaint concerning Trump’s Statements.

REQUEST NO. 26

       All Documents and Communications concerning the Store.


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RESPONSE TO REQUEST NO. 26

       In addition to her General Objections, Carroll objects to this Request on the ground that it

is vague and ambiguous, because it requests documents pertaining to the “Store,” a term nowhere

defined in Defendant’s Requests. For purposes of efficiency, Carroll will construe the “Store” to

refer to “Bergdorf Goodman.” Carroll further objects on the ground that this Request is overbroad,

unduly burdensome, and disproportionate to the needs of the case. Carroll further objects to this

Request on the ground that it seeks information not relevant to the claims or defenses of any Party

in this Action. Notwithstanding Carroll’s General and Specific Objections, Carroll will produce

responsive non-privileged documents and communications with the Store (or its owners,

managers, employees, or agents) concerning this Action or the allegations in the Complaint.

REQUEST NO. 27

      All Documents and Communications concerning the Statements referenced in
paragraphs 81 through 128 of the Complaint.

RESPONSE TO REQUEST NO. 27

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request on the

ground that it seeks information not relevant to the claims or defenses of any Party in this Action,

and on the ground that it is duplicative of other Requests. Notwithstanding Carroll’s General and

Specific Objections, Carroll will produce responsive non-privileged documents and

communications concerning the truth or falsity of the Statements or concerning the harms she

suffered as a result of the Statements.

REQUEST NO. 28

     All Documents and Communications concerning any alleged harm, injury or
damages caused by the Statements.


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RESPONSE TO REQUEST NO. 28

       In addition to her General Objections, Carroll objects to this Request on the ground that it

is duplicative of numerous other Requests herein. Carroll further objects to this Request on the

grounds of overbreadth, disproportionality, and undue burden. Notwithstanding and without

waiver of her General and Specific Objections, Carroll will produce non-privileged documents

responsive to this Request.

REQUEST NO. 29

      All Documents and Communications concerning damages related to your loss of
employment or professional/reputational harm caused by the Statements.

RESPONSE TO REQUEST NO. 29

       In addition to her General Objections, Carroll objects to this Request on the ground that it

is duplicative of numerous other Requests herein. Carroll further objects to this Request on the

grounds of overbreadth, disproportionality, and undue burden. Notwithstanding and without

waiver of her General and Specific Objections, Carroll will produce non-privileged documents

responsive to this Request.

REQUEST NO. 30

       All Documents and Communications with anyone associated with the Store
concerning Defendant, this Action, the Statements, the allegations in the Complaint, and/or
President Trump’s presidency or Mr. Trump’s campaign.

RESPONSE TO REQUEST NO. 30

       In addition to her General Objections, Carroll objects to this Request on the ground that it

is vague and ambiguous, because it requests documents pertaining to the “Store,” a term nowhere

defined in Defendant’s Requests. For purposes of efficiency, Carroll will construe the “Store” to

refer to “Bergdorf Goodman.” Carroll further objects on the ground that this Request is overbroad,



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unduly burdensome, and disproportionate to the needs of the case. Carroll further objects to this

Request on the ground that it seeks information not relevant to the claims or defenses of any Party

in this Action. Notwithstanding Carroll’s General and Specific Objections, Carroll will produce

non-privileged documents and communications with the Store (or its owners, managers,

employees, or agents) concerning this Action or the allegations in the Complaint.

REQUEST NO. 31

       All Documents and Communications concerning any attempts to mitigate any harm,
injury, or damages allegedly caused by the Statements.

RESPONSE TO REQUEST NO. 31

       In addition to her General Objections, Carroll objects to this Request on the ground that it

is duplicative of numerous other Requests herein. Carroll further objects to this Request on the

grounds of overbreadth, disproportionality, and undue burden. Carroll further objects to this

Request on the ground that it seeks information not relevant to the claims or defenses of any Party

in this Action. Carroll will not produce documents or communications in response to this Request.

REQUEST NO. 32

        All Federal and state income tax returns (including K-1 statements from any entity)
for the period 1995 to the present.

RESPONSE TO REQUEST NO. 32

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth and undue burden. Carroll further objects to this Request on the ground that it seeks

information not relevant to the claims or defenses of any Party in this Action, and on the ground

that it is duplicative of other Requests. Carroll further objects to this Request on the ground that it

seeks documents through a time period that largely predates any of the harms alleged in the

Complaint. Notwithstanding Carroll’s General and Specific Objections, Carroll will produce non-



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privileged documents and communications concerning any alleged harm, injury or damages

caused by the Statements, and is available to meet and confer further concerning the response to

this Request.

REQUEST NO. 33

      All partnership or employment records demonstrating Your financial
compensation, including all pay stubs, invoices, draws, carried interest, investments return,
W-2s or 1099s from any entity, for the period 1995 to the present.

RESPONSE TO REQUEST NO. 33

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request on the

ground that it seeks information not relevant to the claims or defenses of any Party in this Action,

and on the ground that it is duplicative of other Requests. Carroll further objects that this Request

seeks documents through a time period that largely predates any of the harms alleged in the

Complaint. Notwithstanding Carroll’s General and Specific Objections, Carroll will produce non-

privileged documents and communications concerning any alleged harm, injury or damages

caused by the Statements.

REQUEST NO. 34

       Documents and Communications sufficient to show all accounts, trusts, investments,
companies, corporate interests, partnerships, or other vehicles, entities or enterprises in
which You have a direct or indirect ownership or control interest, for the period 1995 to
the present.

RESPONSE TO REQUEST NO. 34

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request on the

ground that it seeks information not relevant to the claims or defenses of any Party in this Action,

and on the ground that it is duplicative of other Requests. Carroll further objects that this Request

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seeks documents through a time period that largely predates any of the harms alleged in the

Complaint. Notwithstanding Carroll’s General and Specific Objections, Carroll will produce non-

privileged documents and communications concerning any alleged harm, injury or damages

caused by the Statements.

REQUEST NO. 35

       Documents and Communications sufficient to show all assets, including real estate,
securities, cash, partnership or corporate interests, You directly or indirectly own or
control.

RESPONSE TO REQUEST NO. 35

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request on the

ground that it seeks information not relevant to the claims or defenses of any Party in this Action,

and on the ground that it is duplicative of other Requests. Notwithstanding Carroll’s General and

Specific Objections, Carroll will produce responsive non-privileged documents and

communications concerning any alleged harm, injury or damages caused by the Statements.

REQUEST NO. 36

        All Documents and Communications concerning Your personal finances, including
all personal banking records, checking account statements, savings account statements,
investment account statements or transaction records, trust records or statements, family
office records or statements, and any records of payments or disbursements made by You
or on Your behalf, for the period 2015 to the present.

RESPONSE TO REQUEST NO. 36

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request on the

ground that it seeks information not relevant to the claims or defenses of any Party in this Action,

and on the ground that it is duplicative of other Requests. Carroll further objects that this Request



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seeks documents through a time period that largely predates any of the harms alleged in the

Complaint. Notwithstanding Carroll’s General and Specific Objections, Carroll will produce

responsive non-privileged documents and communications concerning any alleged harm, injury or

damages caused by the Statements.

REQUEST NO. 37

      All Documents and Communications concerning Your purported “reputational and
other harm” caused by the Statements, as alleged in paragraphs 129 and 136 of the
Complaint.

RESPONSE TO REQUEST NO. 37

       Notwithstanding and without waiver of her General Objections, Carroll will produce

responsive non-privileged documents and communications.

REQUEST NO. 38

      All Documents and Communications concerning Your purported emotional harm
caused by the Statements.

RESPONSE TO REQUEST NO. 38

       Notwithstanding and without waiver of her General Objections, Carroll will produce

responsive non-privileged documents and communications.

REQUEST NO. 39

       All Documents and Communications concerning any employment by or publishing
agreement with, whether formal or informal, any magazine, newspaper, website, publisher,
distributor, or publication, including but not limited to copies of such agreement(s).

RESPONSE TO REQUEST NO. 39

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request on the

ground that it seeks information not relevant to the claims or defenses of any Party in this Action,

and on the ground that it is duplicative of other Requests. Carroll further objects that this Request

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seeks documents and communications through a time period that largely predates any of the harms

or conduct alleged in the Complaint. Notwithstanding Carroll’s General and Specific Objections,

Carroll will produce responsive non-privileged documents and communications concerning any

alleged professional or economic harm, injury or damages caused by the Statements.

REQUEST NO. 40

       All Documents and Communications concerning your termination, whether
voluntary or involuntary, from any employer, whether as an employee or independent
contractor, including but not limited to with any magazine, newspaper, website, publisher,
distributor, or publication, including but not limited to Elle, including but not limited to the
reasons for such termination, and any performance reviews.

RESPONSE TO REQUEST NO. 40

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request on the

ground that it seeks information not relevant to the claims or defenses of any Party in this Action,

and on the ground that it is duplicative of other Requests. Carroll further objects that this Request

seeks documents and communications through a time period that largely predates any of the harms

or conduct alleged in the Complaint. Carroll further objects to this Request to the extent it seeks

“all” documents or communications. Notwithstanding Carroll’s General and Specific Objections,

Carroll will produce responsive non-privileged documents and communications concerning any

alleged professional or economic harm, injury or damages caused by the Statements—including

responsive documents and communications concerning her termination from Elle.

REQUEST NO. 41

      Documents sufficient to show all employers for which You worked, whether as an
employee or independent contractor, for the past 10 years, and any pay, salary, or
remuneration received in connection with such employment or agreement.




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RESPONSE TO REQUEST NO. 41

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request on the

ground that it seeks information not relevant to the claims or defenses of any Party in this Action,

and on the ground that it is duplicative of other Requests. Carroll further objects that this Request

seeks documents and communications through a time period that largely predates any of the harms

or conduct alleged in the Complaint, and seeks information about employment or independent

contactor relationships devoid of any relationship to the claims and defenses in this litigation.

Notwithstanding Carroll’s General and Specific Objections, Carroll will produce responsive non-

privileged documents and communications concerning any alleged professional or economic

harm, injury or damages caused by the Statements.

REQUEST NO. 42

      All Documents and Communications concerning Your attempts to obtain
employment, work, contracts, or other engagements or financial arrangements with any
magazine, newspaper, website, publisher, blogger, distributor, or publication, following
Your termination from Elle.

RESPONSE TO REQUEST NO. 42

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request on the

ground that it seeks information not relevant to the claims or defenses of any Party in this Action,

and on the ground that it is duplicative of other Requests. Notwithstanding Carroll’s General and

Specific Objections, Carroll will produce responsive non-privileged documents and

communications concerning any alleged professional or economic harm, injury or damages

caused by the Statements.




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REQUEST NO. 43

     All Documents and Communications concerning Your pay, salary, or any
compensation or remuneration received, from Elle.

RESPONSE TO REQUEST NO. 43

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request on the

ground that it seeks information not relevant to the claims or defenses of any Party in this Action,

and on the ground that it is duplicative of other Requests. Carroll further objects that this Request

seeks documents and communications through a time period that largely predates any of the harms

or conduct alleged in the Complaint, and seeks information about employment or independent

contactor relationships devoid of any relationship to the claims and defenses in this litigation.

Notwithstanding Carroll’s General and Specific Objections, Carroll will produce responsive non-

privileged documents and communications concerning any alleged professional or economic

harm, injury or damages caused by the Statements.

REQUEST NO. 44

      All Documents and Communications concerning Your decision to publish the Article
in New York Magazine.

RESPONSE TO REQUEST NO. 44

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request on the

ground that it seeks information not relevant to the claims or defenses of any Party in this Action,

and on the ground that it is duplicative of other Requests. Notwithstanding and without waiver of

her General and Specific Objections, Carroll will produce responsive non-privileged documents




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and communications concerning her decision to reveal publicly in June/July 2019 that Trump had

sexually assaulted her, and concerning her decision to publish the Article in New York Magazine.

REQUEST NO. 45

       All Documents and Communications concerning budget cuts at Elle or Hearst.

RESPONSE TO REQUEST NO. 45

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request on the

ground that it seeks information not relevant to the claims or defenses of any Party in this Action,

and seeks information in the custody, control, or possession of third parties. Notwithstanding

Carroll’s General and Specific Objections, Carroll will produce responsive non-privileged

documents and communications concerning any alleged professional or economic harm, injury or

damages caused by the Statements—including documents and communications concerning her

termination from Elle.

REQUEST NO. 46

     All Documents and Communications concerning any meetings at the Russian Tea
Room with editors of Elle or Hearst.

RESPONSE TO REQUEST NO. 46

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth and undue burden. Carroll further objects to this Request on the ground that it seeks

information not relevant to the claims or defenses of any Party in this Action. Notwithstanding

Carroll’s General and Specific Objections, Carroll will produce responsive non-privileged

documents and communications concerning the meeting at the Russian Team Room where Carroll

disclosed to Elle editors that the Book addressed the fact that Trump had sexually assaulted her.




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REQUEST NO. 47

      All Documents and Communications concerning Your attribution of Your
termination at Elle to the Statements.

RESPONSE TO REQUEST NO. 47

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request on the

ground that it seeks information not relevant to the claims or defenses of any Party in this Action.

Notwithstanding Carroll’s General and Specific Objections, Carroll will produce responsive non-

privileged documents and communications concerning any alleged professional or economic

harm, injury or damages caused by the Statements—including documents and communications

concerning her termination from Elle.

REQUEST NO. 48

       All Documents and Communications concerning Your allegation in paragraph 134
of the Complaint, that Your column was impaired, and any reasons therefor.

RESPONSE TO REQUEST NO. 48

       Notwithstanding and without waiver of her General Objections, Carroll will produce

responsive non-privileged documents and communications.

REQUEST NO. 49

      All Documents and Communications concerning any criticism or critique of Your
column in Elle.

RESPONSE TO REQUEST NO. 49

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request on the

ground that it seeks information not relevant to the claims or defenses of any Party in this Action,

and seeks documents and communications through a time period that largely predates any of the

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harms or conduct alleged in the Complaint. Notwithstanding Carroll’s General and Specific

Objections, Carroll will produce responsive non-privileged documents and communications

concerning any alleged professional or economic harm, injury or damages caused by the

Statements—including documents and communications concerning her termination from Elle.

REQUEST NO. 50

       Documents sufficient to show the number of Communications received per month
seeking advice in connection with Your column with Elle.

RESPONSE TO REQUEST NO. 50

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request on the

ground that it seeks information not relevant to the claims or defenses of any Party in this Action,

and seeks documents and communications through a time period that largely predates any of the

harms or conduct alleged in the Complaint. Carroll further objects to this Request on the ground

that it is inconsistent with the Rules because it seeks documents and information not within

Carroll’s possession, custody, or control, including analytics regarding a column run by Elle

magazine. Notwithstanding and without waiver of her General and Specific Objections, Carroll

will produce responsive non-privileged documents and communications.

REQUEST NO. 51

       All Documents and Communications concerning the number of Communications
received per month seeking advice in connection with Your column with Elle.

RESPONSE TO REQUEST NO. 51

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request on the

ground that it seeks information not relevant to the claims or defenses of any Party in this Action,



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and seeks documents and communications through a time period that largely predates any of the

harms or conduct alleged in the Complaint. Carroll further objects to this Request on the ground

that it is inconsistent with the Rules because it seeks documents and information not within

Carroll’s possession, custody, or control, including analytics regarding a column run by Elle

magazine. Notwithstanding and without waiver of her General and Specific Objections, Carroll

will produce responsive non-privileged documents and communications.

REQUEST NO. 52

       All Documents and Communications concerning all health-care providers (physical
or mental) and services rendered to You from 1990 through the present, including all
therapist, psychiatrist, treating physician or other doctor, hospital, and follow-on or
supplementary health- care appointments and services scheduled and attended, and all
prescriptions written and/or filled.

RESPONSE TO REQUEST NO. 52

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request on the

ground that it seeks information not relevant to the claims or defenses of any Party in this Action.

Notwithstanding Carroll’s General and Specific Objections, Carroll will produce responsive non-

privileged documents and communications concerning the emotional and psychological harm that

Trump caused her by publishing the Statements.

REQUEST NO. 53

       All Documents and Communications concerning any accusations, charges, or
inquiries by anyone concerning any actual or alleged unlawful acts or other criminal
conduct by You during Your lifetime.




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RESPONSE TO REQUEST NO. 53

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request on the

ground that it seeks information not relevant to the claims or defenses of any Party in this Action,

and is calculated to harass and annoy, and on the ground that it seeks information from within a

timeframe far beyond the scope of this case. Carroll will not produce documents or

communications in response to this Request.

REQUEST NO. 54

       All Documents and Communications concerning any accusation You made against
another Person of sexual assault or inappropriate sexual conduct, including but not limited
to any official complaints with employers, law enforcement agencies, or courts.

RESPONSE TO REQUEST NO. 54

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request on the

ground that it seeks information not relevant to the claims or defenses of any Party in this Action,

and is calculated to harass and annoy, and on the ground that it seeks information from within a

timeframe far beyond the scope of this case. Carroll will not produce documents or

communications in response to this Request.

REQUEST NO. 55

       All Documents and Communications concerning You and any alcohol or drug use
or abuse.

RESPONSE TO REQUEST NO. 55

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request on the

ground that it seeks information not relevant to the claims or defenses of any Party in this Action,

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and is calculated to harass and annoy, and on the ground that it seeks information from within a

timeframe far beyond the scope of this case. Carroll will not produce documents or

communications in response to this Request.

REQUEST NO. 56

       All Documents and Communications concerning any incarcerations, fines paid,
arrests, or other criminal conduct during Your lifetime.

RESPONSE TO REQUEST NO. 56

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request on the

ground that it seeks information not relevant to the claims or defenses of any Party in this Action,

and is calculated to harass and annoy, and on the ground that it seeks information from within a

timeframe far beyond the scope of this case. Carroll will not produce documents or

communications in response to this Request.

REQUEST NO. 57

       All Documents and Communications concerning any disciplinary proceedings
involving You, regardless of whether such proceeding resulted in any disciplinary action.

RESPONSE TO REQUEST NO. 57

       In addition to her General Objections, Carroll objects to this Request on the ground that

the undefined terms “disciplinary proceedings” and “disciplinary action” are vague and

ambiguous. Carroll further objects to this Request on the grounds of overbreadth,

disproportionality, and undue burden. Carroll further objects to this Request on the ground that it

seeks information not relevant to the claims or defenses of any Party in this Action, and is

calculated to harass and annoy, and on the ground that it seeks information from within a timeframe




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far beyond the scope of this case. Carroll will not produce documents or communications in

response to this Request.

REQUEST NO. 58

      All Documents and Communications concerning or bearing on Your reputation for
honesty.

RESPONSE TO REQUEST NO. 58

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request to the

extent that it seeks information not relevant to the claims or defenses of any Party in this Action,

including insofar as it seeks information from within a timeframe far beyond the scope of this case.

Carroll further objects to this Request on the ground that it is inconsistent with the Rules because

it seeks documents and information not within Carroll’s possession, custody, or control, including

documents relating to the opinions of third parties. Carroll further notes that it is Trump, not

Carroll, who has a reputation for dishonesty. See e.g., WASH. POST FACT CHECKER, last

updated Jan 20, 2021, available at https://www.washingtonpost.com/graphics/politics/trump-

claims-database (noting that in 1,461 days, Trump has made 30,573 false or misleading claims).

Notwithstanding and without waiver of her General and Specific Objections, Carroll will produce

non-privileged documents and communications from July 1, 2017 through July 1, 2019 concerning

her reputation for honesty.

REQUEST NO. 59

       All Documents and Communications concerning any polygraph examinations You
have taken or been subject to during your lifetime.




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RESPONSE TO REQUEST NO. 59

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request to the

extent that it seeks information not relevant to the claims or defenses of any Party in this Action,

including insofar as it seeks information from within a timeframe far beyond the scope of this case.

Carroll further objects to this Request on the ground that it is inconsistent with the Rules because

it seeks documents and information not within Carroll’s possession, custody, or control, including

opinions of third parties. Carroll further notes that it is Trump, not Carroll, who has a reputation

for dishonesty. See e.g., WASH. POST FACT CHECKER, last updated Jan 20, 2021, available at

https://www.washingtonpost.com/graphics/politics/trump-claims-database (noting that in 1,461

days, Trump has made 30,573 false or misleading claims). Notwithstanding and without waiver of

her General and Specific Objections, Carroll will produce non-privileged documents and

communications responsive to this Request.

REQUEST NO. 60

       All diaries or journals you have kept during any portion of Your lifetime.

RESPONSE TO REQUEST NO. 60

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request on the

ground that it seeks information not relevant to the claims or defenses of any Party in this Action,

and on the ground that it seeks information from within a timeframe far beyond the scope of this

case. Notwithstanding and without waiver of her General and Specific Objections, Carroll will

produce responsive excerpts from any diaries or journals concerning Trump sexually assaulting

her, concerning the Statements, or concerning this Action or the allegations in the Complaint.



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REQUEST NO. 61

       Documents sufficient to identify all other litigations, arbitrations, or other formal
disputes involving or concerning You.

RESPONSE TO REQUEST NO. 61

       In addition to her General Objections, Carroll objects to this Request on the grounds of

overbreadth, disproportionality, and undue burden. Carroll further objects to this Request on the

ground that it seeks information not relevant to the claims or defenses of any Party in this Action,

and on the ground that it seeks information from within a timeframe far beyond the scope of this

case. Notwithstanding and without waiver of her General and Specific Objections, Carroll is

available to meet and confer about a reasonable reciprocal and mutual approach to the production

of responsive information by both parties.

REQUEST NO. 62

        All Documents and Communications regarding any oral or written statement by any
of the parties to this Action concerning the allegations in the Complaint, irrespective of who
obtained them or how they were obtained.

RESPONSE TO REQUEST NO. 62

       In addition to her General Objections, Carroll objects to this Request on the ground that it

is duplicative of numerous other Requests. Carroll further objects to this Request on the ground

that the vast bulk of the information it seeks is within Trump’s possession, custody, or control.

Notwithstanding and without waiver of her General and Specific Objections, Carroll will produce

responsive non-privileged documents and communications regarding any statement by any of the

parties to this Action concerning Trump sexually assaulting Carroll, concerning her decision to

reveal publicly in June/July 2019 that Trump had sexually assaulted her, concerning the truth or

falsity of the Statements, or concerning the harms she suffered as a result of the Statements.




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REQUEST NO. 63

      All Documents and Communications identifying any witness with knowledge of the
purported matters at issue in this Action.

RESPONSE TO REQUEST NO. 63

       In addition to her General Objections, Carroll objects to this Request on the ground that it

is unduly burdensome, and duplicative of other discovery requests, and seeks information provided

in Carroll’s Initial Disclosures. Carroll further objects to this Request on the grounds that it seeks

documents and information not in Carroll’s possession, custody, or control, and purports to require

Carroll to determine the knowledge of unspecified non-parties. Carroll also objects to this Request

to the extent that it seeks information protected by the attorney-client privilege, work product

protection, or other applicable privileges or protections from disclosures. Notwithstanding and

without waiver of her General and Specific Objections, Carroll reiterates that she will produce

responsive non-privileged documents and communications (including with non-parties)

reasonably related to the allegations in the Complaint, as set forth in her responses to (among

others) Requests 1-12.

REQUEST NO. 64

       All Documents and Communications between you and any third party concerning
Defendant, this Action, the Statements, the allegations in the Complaint, and/or President
Trump’s presidency or Mr. Trump’s campaign, since the Complaint was filed, excluding
privileged Communications with attorneys.

RESPONSE TO REQUEST NO. 64

       In addition to her General Objections, Carroll objects to this Request on the ground that it

is unduly burdensome and duplicative of other Requests, and to the extent that it seeks information

protected by work product protection and other applicable privileges or protections from

disclosure. Notwithstanding and without waiver of her General and Specific Objections, Carroll



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reiterates that she will produce responsive non-privileged documents and communications

(including with non-parties) reasonably related to the allegations in the Complaint, as set forth in

her responses to (among others) Requests 1-12, and is available to meet and confer concerning an

appropriate (and mutual) date range for electronic searches and production.

REQUEST NO. 65

       All Documents and Communications sent to, reviewed by, or prepared by any expert
retained by you in this case concerning You, Defendant, the Complaint, or this Action.

RESPONSE TO REQUEST NO. 65

       Notwithstanding and without waiver of her General Objections, Carroll will produce non-

privileged documents and communications.

REQUEST NO. 66

       All Documents and Communications consulted in responding to Defendant’s
Interrogatories to You.

RESPONSE TO REQUEST NO. 66

       Notwithstanding and without waiver of her General Objections, Carroll will produce non-

privileged documents and communications.

REQUEST NO. 67

       All Documents and Communications on which You intend to rely or use at trial in
this Action.

RESPONSE TO REQUEST NO. 67

       In addition to her General Objections, Carroll objects to this Request on the ground that it

is premature at this stage of the proceedings. Carroll will comply with all applicable rules and

requirements concerning pretrial disclosures.




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Dated: New York New York
       June 27, 2022                By:
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                          UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK


 E. JEAN CARROLL,
                         Plaintiff,

                                                            No. 20 Civ. 7311 (LAK) (JLC)
         v.

 DONALD J. TRUMP, in his personal capacity,

                         Defendant.




                                  CERTIFICATE OF SERVICE

        I hereby certify that on this day, June 27, 2022, I served a true and correct copy of Plaintiff
E. Jean Carroll’s Responses and Objections to Defendant’s Requests for the Production of
Documents by e-mail upon counsel for Defendant Donald J. Trump and by overnight delivery
service to:

                                      Alina Habba, Esq.
                             HABBA MADAIO & ASSOCIATES LLP
                               1430 U.S. Highway 206, Suite 240
                                 Bedminster, New Jersey 07921

                            Attorney for the Defendant Donald J. Trump


Dated: June 27, 2022
New York, New York



                                               By:
                                                       Joshua Matz




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